
44 So. 3d 639 (2010)
William JARVIS, Petitioner,
v.
FLORIDA DEPARTMENT OF CORRECTIONS, Walter A. McNeil, Secretary, Florida Department of Corrections, Duffie Harrison, Warden, Taylor Correctional Institution, Respondents.
No. 1D10-0735.
District Court of Appeal of Florida, First District.
August 18, 2010.
Rehearing Denied September 22, 2010.
William Jarvis, pro se, for Petitioner.
Bill McCollum, Attorney General, and Joe Belitzky, Assistant Attorney General, Tallahassee, for Respondents.
PER CURIAM.
We hereby grant the petition for writ of mandamus. The circuit court shall rule on the pending petition for writ of mandamus within a reasonable time, not to exceed 30 days from issuance of mandate in this cause. Because we are confident that the circuit court will issue a ruling, we withhold issuance of the formal writ.
HAWKES, C.J., KAHN and PADOVANO, JJ., concur.
